Case 2:05-cv-02606-BBD-dkv Document 3 Filed 08/25/05 Page 1 of 2 Page|D 1

 
 

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IN THE UNITED sTATEs DISTRICT COURT
FOR THE wEsTERN DIsTRICT oF TENNESSEE 05 AUE 25
WESTERN DIVISION

 

ALAINIA HAGERTY, and
JOSEPH MARKING,

 

Plaintiffs,

vs. Case NO. 05-2606 D V
MEMPHIS PUBLISHING COMPANY,

a Tennessee Corporation, an operating
subsidiary of the E.W. Scripps Company, a
foreign corporation doing business as

THE COMMERCIAL APPEAL,

\_/\./\_/\-/\_/\_/\_/\../\_/V\_/\_/\-_/\\./

Defendant.

 

fPR&PO‘S'EB) ORDER GRANTING MOTION FOR EX'I'ENSION

 

This matter is before the Court on Defendant’s Motion for Extension. It appears to the
Court, based on the Certificate ot` Consultation accompanying Defendant’s Motion, that
Plaintiffs’ have consented to the relief requested by Defendant’s Motion. Accordingly, it is
hereby ordered that the deadline for Defendant to answer or otherwise respond to Plaintiffs’
complaint shall be extended through Septelnber 28, 2005.

IT IS SO ORDERED.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Date: ga ?Mgf j‘__/,Z¢M¢$"

 

Thls document entered on the docket sheet in conép|iance
with Rule 58 and/or 79{a) FHCP on "

 

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Honorable Bernice Donald
US DISTRICT COURT

